Case 1:16-cv-20394-MGC Document 32 Entered on FLSD Docket 08/30/2016 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 16-20394-Civ-COOKE/TORRES

  YAMIL RUIZ, individually,

          Plaintiff,
  vs.

  YAKIM MANASSEH JORDAN, et. al.,

          Defendants.


  ___________________________________/
                          ORDER ADMINISTRATIVELY CLOSING
                          CASE UPON NOTICE OF SETTLEMENT
          THIS CASE is before me on the parties’ Notice of Settlement (ECF No. 31). The
  parties have settled this matter, and it will be administratively closed pending the parties
  filing a stipulation of final dismissal, pursuant to Federal Rule of Civil Procedure
  41(a)(1)(A)(ii), or moving for dismissal pursuant to Rule 41(a)(2).
          A stipulation of final dismissal, or a motion for dismissal, shall be filed within thirty
  (30) days of this Order. In the event a stipulation of final dismissal is filed pursuant to
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and the parties desire the Court to have
  continuing jurisdiction to enforce the terms of the settlement agreement, they must
  condition the stipulation upon this Court entering an order retaining jurisdiction. See Anago
  Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).               The Clerk shall
  ADMINISTRATIVELY CLOSE this case. All pending motions, if any, are DENIED as
  moot.
          DONE and ORDERED in Chambers, in Miami, Florida, this 29th day of August
  2016.




  Copies furnished to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of record
